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AO 245B       (Rev. 11/11) Judgment in Criminal Case
              Sheet 2 — Imprisonment

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DEFENDANT:                       JASON LEE KOLLARS
CASE NUMBER:                     CR 14-4051-3-MWB


                                                                IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of: 79 months on Count 1 of the Indictment.


O         The court makes the following recommendations to the Bureau of Prisons:
          That the defendant be designated to a Bureau of Prisons facility as close to Sioux City, Iowa, as possible,
          commensurate with the defendant’s security and custody classification needs.
          That the defendant participate in the Bureau of Prisons’ 500-Hour Comprehensive Residential Drug Abuse
          Treatment Program or an alternate substance abuse treatment program.

O         The defendant is remanded to the custody of the United States Marshal.

G         The defendant shall surrender to the United States Marshal for this district:
          G      at                                    G a.m.      G p.m.        on                                            .
          G      as notified by the United States Marshal.

G         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          G      before 2 p.m. on                                            .
          G      as notified by the United States Marshal.
          G      as notified by the Probation or Pretrial Services Office.


                                                                      RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                             to

at                                                      , with a certified copy of this judgment.



                                                                                                       UNITED STATES MARSHAL


                                                                              By
                                                                                                    DEPUTY UNITED STATES MARSHAL




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